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                                 No. 20-15654


             IN THE UNITED STATES COURT OF APPEALS
                     FOR THE NINTH CIRCUIT

                 CENTER FOR BIOLOGICAL DIVERSITY,

                                                               Plaintiff-Appellee,
                                       v.

            UNITED STATES FISH AND WILDLIFE SERVICE,
                                                             Defendant-Appellee,
                                       v.
                  ROSEMONT COPPER COMPANY, et al.,

                                                 Intervenor-Defendant-Appellant.

   On Appeal from the United States District Court for the District of Arizona

    Case Nos. 4:17-cv-00475-JAS, 4:17-cv-00576-JAS, 4:18-cv-00189-JAS
                         The Honorable James A. Soto

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                   CORPORATE DISCLOSURE STATEMENT

      Pursuant to Federal Rule of Appellate Procedure 26.1, the undersigned

counsel     for   Intervenor-Defendant-Appellant     Rosemont     Copper      Company

(“Rosemont”) states that Rosemont is a wholly-owned subsidiary of Hudbay

Minerals, Inc., a Canadian corporation. Hudbay Minerals, Inc. is a publicly traded

company (NYSE: HBM; TSE: HBM).


Dated: December 23, 2021                                  s/ Julian W. Poon
                                                            Julian W. Poon
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                                 INTRODUCTION

      This appeal challenges a portion of the U.S. Fish and Wildlife Service’s

designation of 700,000-plus acres of land in southern Arizona and southwestern

New Mexico as “critical habitat” for the jaguar—a species that lives almost entirely

outside of the United States. The land designated includes approximately 50,000

acres in the northern Santa Rita Mountains, where Appellant Rosemont Copper

Company has obtained approval for a major cutting-edge copper mine and mineral-

processing facilities, and over 12,000 acres for a “travel corridor” connecting the

northern Santa Rita Mountains and the northern Whetstone Mountains. But none of

this purported “critical habitat” is critical at all, and the Service’s critical-habitat

designations contravened both the Endangered Species Act (“ESA”) and the

Service’s own regulations. The District Court, glossing over most of Rosemont’s

arguments in a few conclusory footnotes, deferred to the Service’s arbitrary and

capricious critical-habitat designations. This Court should reverse.

      The ESA defines “critical habitat” as areas “essential to” or “essential for the

conservation of the species.” 16 U.S.C. § 1532(5)(A)(i)–(ii) (emphases added). The

plain meaning of “essential” is that which is indispensable or necessary, as

confirmed by every source of statutory construction. The Service nonetheless

designated, and the District Court upheld the designation of, “critical habitat”

without ever defining what “essential” means. The Service’s designations, however,



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reveal that it believed habitat is “critical” to preserving the entire jaguar species if it

may be helpful to conserving a small group of jaguars in northern Mexico. That

contravenes the plain meaning of “essential.” By implicitly treating “essential” as

meaning merely “nice to have,” the Service’s critical-habitat designations violate the

ESA.

       There are more than 30,000 jaguars in the wild, but only a handful of jaguars

have been recorded in the United States since 1960, and no breeding pair of jaguars

has ever been recorded. The Service thus conceded, in a 2006 finding, that “the

range of the jaguar in the United States is not enough area to provide for the

conservation (i.e., recovery) of the jaguar or even make a significant contribution to

the conservation of the jaguar, and cannot be defined as essential to the conservation

of the species.” 4-ER-783. It is only by adopting a watered-down and standardless

understanding of “essential” that the Service has now reversed course.

       The Service further contravened the ESA by arbitrarily and capriciously

treating the relatively small number of genetically non-distinct jaguars in the

Northwestern Recovery Unit (a geographic area located almost entirely in Mexico)

as a species unto itself. Specifically, the Service designated habitat beneficial to

conserving just those particular jaguars, rather than critical habitat “essential to the

conservation of the species” as a whole. 16 U.S.C. § 1532(5)(A)(i)–(ii) (emphasis

added). The Service’s designations thus rest on an atextual and unreasonable


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understanding of “species” that would dramatically expand the scope of the ESA

beyond what Congress ever intended.

      In designating the “critical habitat” challenged here, the Service contravened

not only the statute but also its own regulations—specifically, 50 C.F.R. § 424.12.

As the Tenth Circuit has explained, the version of Section 424.12 in effect when the

Service designated critical habitat for the jaguar required the Service to first consider

whether designating any areas occupied by the species would be sufficient to

conserve the species before the Service could then consider designating any

unoccupied areas as critical habitat. See N.M. Farm & Livestock Bureau v. U.S.

Dep’t of Interior, 952 F.3d 1216, 1228–29 (10th Cir. 2020).                The Service

acknowledged as much in its Final Rule: “If, after identifying occupied areas, a

determination is made that those areas are inadequate to ensure conservation of the

species . . . we then consider” designating unoccupied areas. 2-ER-233 (emphases

added). Yet the Service then inexplicably ignored this requirement and collapsed

these two inquiries into one.

      Finally, the Service failed to follow the ESA’s requirement that it “tak[e] into

consideration the economic impact” before designating critical habitat. 16 U.S.C.

§ 1533(b)(2). While the Service nominally considered economic impacts, and

concluded they would not be significant, its analysis turned on a proposition that the

District Court rejected: that Rosemont’s mining project would not adversely modify


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the jaguar’s “critical habitat.” Having eliminated that predicate for the Service’s

economic-impact analysis, the District Court should have then, as a matter of law

and logic, vacated the Service’s designations and instructed the Service to reassess

the potential economic impacts of the designations. The court instead upheld the

designations. That is yet another reason to reverse.

      The ESA and the Service’s own regulations set forth a process the Service

should have followed in designating critical habitat. The Service failed to abide by

that process here in designating, as “critical habitat,” large expanses of land in

Arizona and New Mexico for a species living almost entirely outside of the

United States. By upholding the Service’s arbitrary and capricious designations, the

District Court erred. This Court should therefore reverse.

                      STATEMENT OF JURISDICTION

      The District Court had jurisdiction over this action under 28 U.S.C. §§ 1331,

1346. On February 10, 2020, the District Court denied Rosemont’s cross-motion for

summary judgment and granted Plaintiff Center for Biological Diversity’s and

Defendant U.S. Fish and Wildlife Service’s cross-motions for summary judgment

on Rosemont’s cross-claims.       Rosemont timely appealed.        This Court has

jurisdiction under 28 U.S.C. § 1291.




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                          STATEMENT OF THE ISSUES

      I.     Did the Fish and Wildlife Service arbitrarily and capriciously designate

the northern Santa Rita Mountains and Subunit 4b as “critical habitat” for the jaguar,

even though the designated areas are not “essential to the conservation of the

species,” and did the District Court err in upholding those designations?

      II.    Did the Service arbitrarily and capriciously fail to follow its own

regulations requiring that it first consider the adequacy of designating any occupied

areas as “critical habitat” before it could then consider designating areas unoccupied

by the species as “critical habitat,” and did the District Court err in upholding the

Service’s designations?

      III.   Did the District Court err in failing to vacate the Service’s challenged

critical-habitat designations and failing to remand to the Service for reconsideration

after eliminating the key predicate underlying the Service’s economic-impact

analysis?

                          STATEMENT OF THE CASE
   I. The Rosemont Project

      Rosemont Copper Company is developing a state-of-the-art copper mine and

related mineral-processing facilities in the northern Santa Rita Mountains in

Pima County, Arizona. 2-ER-154–55. The site of the Rosemont Project is within

the Rosemont and Helvetia Mining Districts, an area that has been explored and

mined extensively since the 1880s. 2-ER-154. The Project is expected to last

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between 25 and 30 years. 2-ER-89–90; 3-ER-385. Over that time, it is expected to

produce 5.88 billion pounds of copper, 194 million pounds of molybdenum, and

80 million ounces of silver. 2-ER-155.

        A 2012 economic analysis estimated that the mine would increase local

economic activity by approximately $1.2 billion annually, directly create around

500 jobs and indirectly support over 3,300 more jobs, and generate approximately

$25.7 million in local-government revenue.         3-ER-348.    The analysis further

estimated that production activities would increase economic activity in Arizona,

and national economic activity, by approximately $1.4 billion and $2.5 billion

annually. 3-ER-358.

        In applying for federal authorizations and permits, Rosemont consulted twice

with the Forest Service, Fish and Wildlife Service, and Army Corps of Engineers,

as required by Section 7(a)(2) of the ESA, 16 U.S.C. § 1536(a)(2). 2-ER-156;

3-ER-369. 1 During both consultation processes, the Service considered whether the

Project was likely to destroy or adversely modify critical habitat. 2-ER-190–97;

3-ER-473–87.       Both consultations resulted in opinions (the “2013 Biological




 1
     Section 7(a)(2) instructs federal agencies to consult with the Service to “insure
     that any action authorized, funded, or carried out by such agency is not likely to
     jeopardize the continued existence of any endangered species or threatened
     species or result in the destruction or adverse modification of habitat of such
     species which is determined . . . to be critical.” 16 U.S.C. § 1536(a)(2).

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Opinion” and “2016 Biological Opinion”) in which the Service concluded that the

Project was “not likely [to] destroy or adversely modify” critical habitat for the

jaguar. 2-ER-198; 3-ER-490.

        The Forest Service granted final approval of Rosemont’s mining plan of

operations in March 2019. 2-ER-46. The District Court overturned that approval

by vacating the agency actions on which it relied, and Rosemont’s and the

Government’s appeals from that decision remain pending before this Court. See Ctr.

for Biological Diversity, et al. v. U.S. Fish & Wildlife Serv. v. Rosemont Copper Co.,

Nos. 19-17585, 19-17586 (9th Cir.).2

II.     The Jaguar Species and Conservation Efforts
        A.    The Jaguar Species and Its Range
        The jaguar (Panthera onca) is the largest cat species native to the

Western Hemisphere. 4-ER-710, 712. More than 30,000 jaguars live in the wild,

according to experts.      4-ER-724.    Approximately 600 jaguars are found in

northwestern Mexico, the northernmost portion of its currently occupied range, with

the remainder in other parts of Mexico, and in 17 Central and South American

nations:     Argentina, Belize, Bolivia, Brazil, Columbia, Costa Rica, Ecuador,

French Guiana, Guatemala, Guyana, Honduras, Nicaragua, Panama, Paraguay, Peru,


 2
      The briefing in those consolidated appeals provides additional information
      regarding the Rosemont Project and the extensive environmental review
      conducted by federal, state, and local authorities. See id. at Dkt. 29, 74.

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Suriname, and Venezuela.          4-ER-724.    The jaguar’s current range spans

approximately 3.4 million square miles. Id. According to experts, “[t]he probability

of long-term survival of the jaguar is considered high in 70 percent of the currently

occupied range.” Id. The following graphic depicts the jaguar’s current occupied




range:

4-ER-767. 3

         No breeding population of jaguars has existed in the United States for over

100 years.      Only three records of female jaguars with cubs have ever been




 3
     While the Recovery Outline labels this graphic as a depiction of the
     Pan American Recovery Unit, it clearly depicts the jaguar’s full range. See 4-
     ER-767; see also 4-ER-724–25.

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documented in the United States, most recently in 1910. 4-ER-726. The most recent

record of any female jaguar in the United States is from 1963, and the validity of

that record is disputed. Id. By 1972, “jaguars in the United States had declined to

such an extent . . . as to be effectively eliminated.” 2-ER-231. According to the

Service, between 1960 and 2013, there were undisputed Class I records 4 of only six

or seven unique jaguars (all solitary males) within the United States. 2-ER-222–23.

Moreover, no breeding pair of jaguars has been documented in the United States.

3-ER-529.

        Experts who consider southern Arizona and southwestern New Mexico part

of the jaguar’s range agree that they are “at the northern edge of the northernmost

jaguar population.” 4-ER-727. “Jaguars in the United States are understood to be

individuals dispersing north from Mexico . . . , where the closest breeding population

occurs about 210 km (130 mi) south of the U.S.-Mexico border.” 2-ER-231.

        B.    The Listing of the Jaguar Species as “Endangered”

        The Service first listed the jaguar as an endangered species on March 30,

1972, pursuant to the Endangered Species Conservation Act of 1969, a precursor to

the ESA that provided for separate lists of endangered species found within and




 4
     A “Class I record” is one substantiated by physical evidence (e.g., skin, skull,
     photograph, track), as reviewed and accepted by a relevant authority such as the
     Arizona Game and Fish Department. 2-ER-222.

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outside the United States. 2-ER-224; 4-ER-710. At the time of its 1972 listing, “the

jaguar was included only on the foreign species list,” given the paucity of jaguars in

the United States. 90-Day Finding on a Petition to Revise Critical Habitat for the

Jaguar, 86 Fed. Reg. 49,985, 49,986 (Sept. 7, 2021).

      The Service issued a proposed rule to list the jaguar species as endangered

within the United States in 1980, but withdrew it in 1982. 4-ER-796; 4-ER-795.

The Service ultimately listed the jaguar as endangered in the United States on July

22, 1997. 4-ER-784. Nevertheless, the Service treats March 30, 1972 as the jaguar’s

listing date within the United States, based on the Service’s “assert[ion] that it was

always [its] intent . . . to consider the jaguar endangered throughout its entire range

when it was listed as endangered in 1972.” 2-ER-224.

      C.     The Designation of Critical Habitat for Jaguars in the United States

      In its 1997 regulation extending the endangered-species listing to jaguars

within the United States, the Service considered whether—and decided not—to

designate critical habitat for the species.     It determined “that designation of

critical habitat is not prudent” because “the primary threat to the species in the

United States is direct taking rather than habitat destruction,” and the “[p]ublication

of detailed critical habitat maps and descriptions in the Federal Register would” be

counterproductive. 4-ER-792.




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      In 2006, pursuant to a settlement of litigation, the Service reconsidered

whether to designate critical habitat for the jaguar and again declined to do so:

      Because the area used by jaguars in the United States is such a small
      part of the overall range of the species and because of nomadic use by
      jaguars, . . . [it] is not enough area to provide for the conservation
      (i.e., recovery) of the jaguar or even make a significant contribution to
      the conservation of the jaguar, and cannot be defined as essential to the
      conservation of the species.

4-ER-783. The Service explained that any measures necessary to the species’

conservation “will need to be implemented in Mexico and Central and South

America.” Id.; see also 4-ER-711 (“The rationale for this determination was that for

the purposes of formal recovery planning, the jaguar qualifies as an exclusively

foreign species.”).

      In 2009, the District of Arizona vacated the Service’s 2006 determination not

to designate critical habitat. Ctr. for Biological Diversity v. Kempthorne, 607

F. Supp. 2d 1078, 1094 (D. Ariz. 2009). On remand, the Service reversed its long-

held position and stated that “the designation of critical habitat for the jaguar would

be beneficial” to the species’ conservation. 4-ER-770 (emphasis added).

      Recognizing that “information currently available for northern jaguars is

scant,” the Service in 2010 “convened a binational Jaguar Recovery Team”

comprised of “jaguar experts, large-cat experts, and stakeholders from the

United States and Mexico.” 2-ER-248. The Jaguar Recovery Team was tasked with

“synthesiz[ing] information on the jaguar, focusing on [the] area comprising jaguars

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in the northernmost portion of their range.” Id. In April 2012, the team issued a

“Recovery Outline for the Jaguar,” which set forth “interim recovery goals,

objectives, and actions for the [jaguar] species.” 4-ER-709, 711.

      The Recovery Outline divided the jaguar’s range into two “recovery units”:

the Northwestern Recovery Unit (“NRU”) and the Pan American Recovery Unit.

4-ER-728.    Each unit consisted of “core areas” and “secondary areas.”            Id.

“Core areas” are those with “persistent verified records of jaguar occurrence over

time and recent evidence of reproduction.” Id. “[S]econdary areas” are those which

“contain jaguar habitat with historical and/or recent records of jaguar presence [but]

with no recent record or very few records of reproduction.” 4-ER-728–29.

      The Recovery Outline focused on the NRU, which is almost entirely in

Mexico and includes just two of the 90 “core areas.” 4-ER-729, 747, 750. The NRU

also includes “secondary areas,” including one that lies to the north of the

northernmost core area and extends into Arizona and New Mexico. 4-ER-731, 766.

The U.S. portion of this secondary area contains approximately 12,386 square miles,

which represents roughly 0.36% of the jaguar’s current range, but the areas

designated as critical habitat within the United States constitute just 0.04% of the

jaguar’s range. Id. The Recovery Outline also explained that secondary areas “are

of particular interest when they occur between core areas and can be used as transit

areas through which dispersing individuals can move, reach adjacent other core


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areas,” but the secondary area that extends into the United States is at the

northernmost edge of the NRU and thus does not connect two core areas, as the

following map shows. 4-ER-729, 731.




4-ER-766.

      The Recovery Outline identified but did not focus on the Pan American

Recovery Unit, which “extends from Mexico to Argentina and encompasses 88 [out

of 90] core areas and all corridors connecting these areas.” 4-ER-750. The stated

purpose of the Jaguar Recovery Team’s work was to “address in significant detail

the actions necessary to conserve jaguars in the northwestern portion of their range

(i.e., within the NRU),” which contains less than 3% of the jaguar’s current range.

4-ER-731, 747.


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      Relying on the Recovery Outline as “the best scientific and commercial data”

available, 2-ER-250, the Service published a proposed rule in 2012 designating

approximately 838,000 acres of land in southern Arizona and southwestern New

Mexico as “critical habitat” for the jaguar. 4-ER-680. The proposed critical habitat

was revised in 2013. 3-ER-512.

      The proposed critical habitat contained several “units” and “subunits.” By far

the largest among these was Unit 3 (the “Patagonia Unit”) which covered

approximately    366,000    acres,   including    the   Santa    Rita   Mountains,

Patagonia Mountains, Huachuca Mountains, and Empire Mountains. 3-ER-516.

Approximately two-thirds of the Rosemont Project site was included in the proposed

Unit 3. The Service also proposed designating, as “Subunit 4b,” a travel corridor

connecting the Whetstone Mountains and the Santa Rita Mountains. 3-ER-517.

Subunit 4b extends from the northern Whetstone Mountains to the northeast side of

the Santa Rita Mountains.

      Rosemont submitted comments regarding the proposed rule and requested that

the portion of Unit 3 within the northern Santa Rita Mountains where the Project is

located, along with Subunit 4b, be excluded from the critical-habitat designations.

4-ER-540, 557.

      The Arizona Game and Fish Department also objected to the designation of

critical habitat for the jaguar in Arizona. 3-ER-527-28. The agency explained that


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there was no credible basis for doing so given that “recovery of the jaguar is entirely

reliant on conservation action in the 99+% of its habitat found south of the

international border” and thus “[t]he less than 1% of potential jaguar habitat in the

U.S. does not and cannot contribute substantially to the recovery of the species.”

3-ER-528. The agency also expressed concern that the few jaguars sporadically

observed in the United States could represent an ecological “sink,” i.e., low-quality

habitat that is harmful to a species’ overall conservation. 3-ER-529.

       On March 5, 2014, the Service issued the Final Rule challenged in this appeal,

designating 764,207 acres of land in Arizona and New Mexico as “critical habitat”

for the jaguar. 2-ER-215. It designated Unit 3, which included the northern Santa

Rita Mountains, as “occupied” critical habitat and Subunit 4b as “unoccupied”

critical habitat. 2-ER-234–35. While it excluded other areas that had originally been

included in the proposed designations, it did not exclude the areas requested by

Rosemont. 2-ER-243–44. The Service explained that the Rosemont Project had

undergone consultation under Section 7(a)(2) of the ESA and therefore would not

be affected by designating critical habitat over and around the mine site. 2-ER-239,

243.

   III.     Procedural History
       On September 25, 2017, the Center for Biological Diversity (“CBD”) brought

the underlying action against the Forest Service and the Fish and Wildlife Service in



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the District Court. 2-ER-111–44. CBD alleged that the Fish and Wildlife Service

had violated the ESA and the Administrative Procedure Act (“APA”) by issuing the

2016 Biological Opinion, and that the Forest Service had violated the ESA by

relying on the 2016 Biological Opinion in issuing and approving the 2017 Record of

Decision. 2-ER-112.

      Rosemont intervened as a defendant and filed cross-claims against the

Fish and Wildlife Service, alleging that the Service violated the ESA and the APA

by designating, as “critical habitat” for the jaguar species, the portion of Unit 3 in

the northern Santa Rita Mountains, as well as Subunit 4b. 2-ER-63–110. Rosemont

argued, inter alia, that the Service had unlawfully determined that the northern

Santa Rita Mountains were “occupied” critical habitat because they were not

occupied at the time of listing and because they lacked features essential to the

jaguar’s conservation. 2-ER-71. Rosemont also argued that the northern Santa Rita

Mountains and Subunit 4b were not properly designated as “unoccupied” critical

habitat, because they were not essential to the conservation of the species and

because the Service had failed to follow the step-wise process mandated by its own

regulations. 2-ER-91. Rosemont also argued that the Service had improperly

focused on conserving the small group of jaguars within the NRU, treating that group

as if it were the jaguar species. 2-ER-103.




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      On February 10, 2020, the District Court granted the Service’s and CBD’s

cross-motions for summary judgment with respect to Rosemont’s cross-claims, and

denied Rosemont’s cross-motion. 1-ER-3. The court agreed with Rosemont that the

Service had erred in determining that the northern Santa Rita Mountains were

“occupied” by jaguars, but it held that the Service had properly designated both Unit

3 (including the northern Santa Rita Mountains) and Subunit 4b as unoccupied

critical habitat.   1-ER-40.   The court relegated several of Rosemont’s major

arguments to footnotes and rejected them in a largely conclusory fashion, including

Rosemont’s arguments regarding the meaning of the statutory term “essential,” the

mandatory step-wise process the Service had failed to follow, and the Service’s

improper focus on jaguars within the NRU rather than the species as a whole. 1-ER-

40–41. The District Court also granted summary judgment to CBD, and against the

Service, on CBD’s claim that the 2016 Biological Opinion improperly used a

heightened standard in determining that the Rosemont Project was not likely to

destroy or adversely modify critical habitat for the jaguar. 1-ER-13–14.

      Rosemont timely appealed. 5-ER-801. On November 11, 2020, Rosemont

filed a petition with the Service requesting that the critical-habitat designations be

revised to exclude the Rosemont Project site. See Ex. A to Request for Judicial

Notice. This Court stayed Rosemont’s appeal pending the Service’s ruling on that

petition. Dkt. 15. On September 7, 2021, the Service denied Rosemont’s petition,


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and this Court subsequently lifted its stay. 90-Day Finding on a Petition to Revise

Critical Habitat for the Jaguar, 86 Fed. Reg. 49,985, 49,986 (Sept. 7, 2021); Dkt. 25.

            STATUTORY AND REGULATORY BACKGROUND

      The Endangered Species Act, 16 U.S.C. § 1531 et seq., lies at the heart of this

appeal. It directs the Secretary of the Interior to “determine whether any species is

an endangered species or a threatened species.” 16 U.S.C. § 1533(a)(1). An

“endangered species” is “any species which is in danger of extinction throughout all

or a significant portion of its range,” and a “threatened species” is “any species which

is likely to become an endangered species within the foreseeable future throughout

all or a significant portion of its range.” Id. at § 1532(6), (20). A “species” includes

“any subspecies of fish or wildlife or plants, and any distinct population segment of

any species of vertebrate fish or wildlife which interbreeds when mature.” Id. at

§ 1532(16). The Secretary “shall publish in the Federal Register a list of all species

determined by him . . . to be endangered species and a list of all species determined

by him . . . to be threatened species.” 16 U.S.C. § 1533(c)(1).

      If the Secretary determines that a species should be listed as endangered or

threatened, the Secretary “shall” “concurrently” “designate any habitat of such

species which is then considered to be critical habitat.” Id. at § 1533(a)(3)(A)(i).

The ESA defines critical habitat as areas “essential to” or “essential for” the

“conservation of the species.” Id. § 1532(5)(A)(i)–(ii). The standard differs,



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however, depending on whether an area is occupied by the species at the time the

species is listed. Id. An “occupied” area may be designated as critical habitat if it

contains “physical or biological features (I) essential to the conservation of the

species and (II) which may require special management considerations or

protection.” Id. § 1532(5)(A)(i) (emphasis added). An unoccupied area may be

designated as critical habitat “upon a determination by the Secretary that such

areas are essential for the conservation of the species.”          Id. § 1532(5)(A)(ii)

(emphasis added). The standard for designating unoccupied critical habitat is “a

more demanding standard than that of occupied critical habitat.” Home Builders

Ass’n of N. Cal. v. U.S. Fish & Wildlife Serv., 616 F.3d 983, 990 (9th Cir. 2010); see

also Ariz. Cattle Growers’ Ass’n v. Salazar, 606 F.3d 1160, 1163 (9th Cir. 2010)

(“The statute . . . impos[es] a more onerous procedure on the designation of

unoccupied areas.”). 5



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     Judge Jones of the Fifth Circuit has provided the following helpful explanation:
     “Suppose a eucalyptus tree is located in my yard. Whether the tree—a feature of
     my homestead—is essential to koala bear conservation would require an analysis
     of the tree’s attributes only. But whether my homestead—a specific ‘area’—is
     ‘essential’ to the species’ conservation would be a more substantial undertaking.
     That analysis would assess not only the tree’s attributes, but also the attributes of
     every constituent part—essential to the species’ conservation or not—of my
     homestead. The analysis of an entire (unoccupied) area thus entails a broader
     and more complex investigation than an analysis of two or three features present
     in an area already occupied by the species.” Markle Interests, L.L.C. v. U.S. Fish
     & Wildlife Serv., 848 F.3d 635, 646–47 (5th Cir. 2017) (Jones, J., dissenting from
     denial of rehearing en banc).

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       The Fish and Wildlife Service has promulgated regulations under the ESA

governing the designation of critical habitat. The regulations in effect when the

Service made the challenged designations provided that: “The Secretary shall

designate as critical habitat areas outside the geographical area presently occupied

by a species only when a designation limited to its present range would be

inadequate to ensure the conservation of the species.” 4-ER-775 (emphasis added).

       Finally, Section 4(b)(2) of the ESA, codified at 16 U.S.C. § 1533(b)(2),

requires the Service to weigh the “economic” and “other” “impact[s]” of designating

critical habitat. Specifically, the statute provides that the Secretary “shall designate

critical habitat, and make revisions thereto, . . . on the basis of the best scientific data

available and after taking into consideration the economic impact, the impact on

national security, and any other relevant impact, of specifying any particular area as

critical habitat.” 16 U.S.C. § 1533(b)(2). The Secretary may then “exclude any area

from critical habitat if he determines that the benefits of such exclusion outweigh

the benefits of specifying such area as part of the critical habitat,” as long as the

exclusion will not result in the extinction of the species. Id.

       In 2013, the Service issued a regulation adopting the “‘incremental analysis’

or ‘baseline approach’” it uses in “compar[ing] the impacts with and without the

designation.” Revisions to the Regulations for Impact Analyses of Critical Habitat,

78 Fed. Reg. 53,058, 53,062 (Aug. 28, 2013). Under this approach, “the costs that


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stem from listing are simply not relevant, except as setting the baseline against which

to measure the incremental impacts of designation.” Id. at 53,067.

                            STANDARD OF REVIEW

      The Administrative Procedure Act, 5 U.S.C. § 551 et seq., governs judicial

review of agency action. Under the APA, an agency action should be set aside “if it

is ‘arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with

law.’” Nw. Ecosystem All. v. U.S. Fish & Wildlife Serv., 475 F.3d 1136, 1140 (9th

Cir. 2007) (quoting 5 U.S.C. § 706(2)(A)). Agency action is arbitrary and capricious

when, inter alia, the agency “relied on factors which Congress has not intended it to

consider, entirely failed to consider an important aspect of the problem, offered an

explanation for its decision that runs counter to the evidence before the agency,” or

rendered a decision “so implausible that it could not be ascribed to a difference in

view or the product of agency expertise.” Motor Vehicle Mfrs. Ass’n v. State Farm

Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983); see also Michigan v. EPA, 576 U.S.

743, 750 (2015) (“Not only must an agency’s decreed result be within the scope of

its lawful authority, but the process by which it reaches that result must be logical

and rational.”) (quoting Allentown Mack Sales & Serv., Inc. v. NLRB, 522 U.S. 359,

374 (1998)).

      This Court reviews a grant of summary judgment de novo. San Luis & Delta-

Mendota Water Auth., 776 F.3d 971, 991 (9th Cir. 2014).



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                           SUMMARY OF ARGUMENT

      The Service’s designation of the northern Santa Rita Mountains (which fall

within Unit 3) and Subunit 4b as “critical habitat” for the jaguar was arbitrary and

capricious, yet the District Court upheld those designations. This Court should

reverse for at least three independent reasons.

      First, the Service and the District Court both disregarded the plain meaning of

“essential” in the ESA’s definition of “critical habitat” as habitat “essential to” or

“essential for” “the conservation of the species.” 16 U.S.C. § 1532(5)(A)(i)–(ii).

The plain meaning of “essential” denotes that which is indispensable or necessary,

as confirmed by multiple dictionary definitions of that term, the ESA’s surrounding

statutory   text,   judicial   interpretations    of   “essential,”   and   the   ESA’s

legislative history. By refusing to actually define what “essential” means and

implicitly assuming that it encompasses anything that would be merely convenient

or helpful to conserving a small group of jaguars, the Service contravened the plain

meaning of “essential.” The Service also acted contrary to the plain meaning of

“species,” as defined by the ESA, by focusing on habitat it considered helpful to

conserving the NRU jaguars, as opposed to habitat essential to conserving the jaguar

species as a whole. The NRU contains less than 3% of the jaguar’s worldwide

habitat. The critical habitat designated in the United States constitutes just 1.4% of

the NRU and less than 0.04% of the jaguar’s total habitat. Yet the Service relied on



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the purported benefits to the 600 jaguars in the NRU—just 2% of the total jaguar

population—to justify its critical-habitat designations.

      Second, the District Court erred in upholding the Service’s arbitrary and

capricious designation of unoccupied areas as “critical habitat” without adhering to

the “step-wise” process mandated by its own regulations. Under the Service’s two-

step approach, it must first examine whether designating occupied areas as

“critical habitat” will suffice to conserve the species before then considering whether

expanding the designation to include unoccupied areas would be essential to the

species’ conservation. The Service failed to comply with this process here, instead

collapsing these two sequential inquiries into one.

      Finally, the District Court eliminated the key predicate underlying the

Service’s economic-impact analysis, but left the outcome of that analysis

undisturbed. The court should have instead taken the only step that could have

followed, as a matter of law and logic, from its elimination of that predicate:

vacating the Service’s challenged designations and remanding for further

consideration of economic impacts.




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                                    ARGUMENT

I.    The District Court Erred in Upholding the Service’s Arbitrary and
      Capricious Designation of “Critical Habitat” That Is Not “Essential to
      the Conservation of the Species.”

      The ESA defines “critical habitat” as habitat “essential to” or “essential for”

“the conservation of the species.” 16 U.S.C. § 1532(5)(A)(i)-(ii). But designating

the over 62,000 acres at issue would, at most, be helpful, rather than essential, to the

conservation of a small group of jaguars in northwestern Mexico, rather than the

jaguar species as a whole.

      A.     The Service Designated “Critical Habitat” That Is Not “Essential.”

      The Service’s challenged designations of the northern Santa Rita Mountains

(the portion of Unit 3 around the Rosemont Project site) and Subunit 4(b) as “critical

habitat,” and the District Court’s upholding those designations, contravene the plain

meaning—indeed, any reasonable interpretation—of the statutory term “essential.”

This Court should therefore reverse and remand with instructions to vacate the

challenged designations.

             1. The Plain Meaning of “Essential,” as Used in the ESA, Denotes
                That Which Is Indispensable or Necessary.

      The plain meaning of “essential” is indispensable or necessary. Yet as

Judge Hartz of the Tenth Circuit recently suggested in concurring with a decision

holding that the Service’s designation of “critical habitat” for the jaguar (the portion

in New Mexico) was unlawful, the Service has improperly treated “essential” as



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meaning “merely convenient or helpful.” N.M. Farm & Livestock Bureau v. U.S.

Dep’t of Interior, 952 F.3d 1216, 1233 (10th Cir. 2020) (Hartz, J., concurring).

      Chevron U.S.A., Inc. v. Natural Resources Defense Council, Inc., 467 U.S.

837 (1984), sets forth the familiar two-step inquiry that governs when courts should

defer to an agency’s interpretation of a statute. Under the first step, a court must ask

“whether Congress has directly spoken to the precise question at issue. If the intent

of Congress is clear, that is the end of the matter; for the court, as well as the agency,

must give effect to the unambiguously expressed intent of Congress.” Id. at 842–

43. To determine Congress’s intent, courts “start with the plain statutory text.”

Altera Corp. & Subsidiaries v. Comm’r of Internal Revenue, 926 F.3d 1061, 1075

(9th Cir. 2019). If there is no uncertainty as to the term’s plain meaning, “there is

no plausible reason for deference” to the agency’s interpretation. Kisor v. Wilkie,

139 S. Ct. 2400, 2415 (2019). “The [statute] then just means what it means—and

the court must give it effect, as the court would any law.” Id. Courts may also

consider “the legislative history, the statutory structure, and other traditional aids of

statutory interpretation in order to ascertain congressional intent.” Altera, 926 F.3d

at 1075. Here, each clearly establishes that “essential” means “indispensable” or

“necessary.”

      Plain Meaning and Dictionary Definitions.                  Turning first to the

plain meaning of “essential,” there can be no doubt that essential means something


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indispensable or necessary, rather than something that is merely convenient or

helpful. If a doctor tells a patient it is “essential” that she receive certain medical

treatment, the treatment is not merely helpful or nice to have; it is necessary. Or, to

say that a quarterback is an “essential” member of a football team is to say that the

quarterback is “indispensable.”

      Dictionaries reflect the same understanding, and consistently define essential

as something “indispensable,” “necessary,” “requisite,” or “of the utmost

importance.” See, e.g., Black’s Law Dictionary (10th ed. 2014) (“Indispensable or

basic: Necessary”); Oxford English Dictionary (online) (Sept. 2021) (“Absolutely

necessary; indispensably requisite”); Webster’s New Universal Unabridged

Dictionary (2d ed. 1983) (“indispensable; requisite”); Webster’s Third New

International Dictionary (1968) (“Necessary, indispensable”); Merriam-Webster’s

Collegiate Dictionary (10th ed. 2000) (“of the utmost importance” or

“indispensable”). Where, as here, “[v]irtually every dictionary [the court is] aware

of” gives a term a certain meaning, the court will give effect to that meaning under

the first step of Chevron. MCI Telecomms. Corp. v. Am. Tel. & Tel. Co., 512 U.S.

218, 225 (1994); see also Lagandaon v. Ashcroft, 383 F.3d 983, 988 (9th Cir. 2004)

(holding that the statutory term “when” was unambiguous where “[a]ll the

dictionaries we have examined agree” on the meaning of the term); Argo Dutch

Indus. Ltd. v. U.S., 508 F.3d 1024, 1031 (Fed. Cir. 2007) (refusing to defer to


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agency’s interpretation of “affiliated” and “affiliate” where “[e]very dictionary we

have consulted defines these words” in a way contrary to the agency’s

interpretation).   The dictionary definitions of “essential” thus establish that it

unambiguously means that which is indispensable or necessary. Any contrary

meaning would “go[] beyond the meaning that the statute can bear.”                MCI

Telecomms. Corp., 512 U.S. at 229.

      Surrounding Statutory Text. The surrounding statutory text confirms this

understanding of “essential.” To begin with, “essential” is used as part of the

definition—and thus expounds on the meaning—of “critical habitat.” Because a

term is generally defined by reference to like terms, the meaning of “critical” sheds

light on the proper construction of “essential.” See, e.g., Yates v. United States, 574

U.S. 528, 543 (2015) (“[W]e rely on the principle of noscitur a sociis—a word is

known by the company it keeps.”). And “critical” means “indispensable, vital,”

Merriam-Webster’s Collegiate Dictionary (10th ed. 2000); “important or essential

for determining,” Webster’s New Universal Unabridged Dictionary (2d ed. 1983);

or “indispensable for the weathering, the solution, or the overcoming of a crisis,”

Webster’s Third New International Dictionary (1968). See also Oxford English

Dictionary (online) (Sept. 2021) (“Of decisive importance in relation to the issue”);

Webster’s II New College Dictionary (1995) (“Designating materials and products

essential to a condition or project but in short supply.”).


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      Moreover, the ESA requires that critical habitat be “essential to” or

“essential for” the “conservation of the species.”         16 U.S.C. § 1532(5)(A)

(emphases added). It then defines “conservation” as “the use of all methods and

procedures which are necessary to bring any endangered species or threatened

species to the point at which the measures provided pursuant to this chapter are no

longer necessary.” 16 U.S.C. § 1532(3) (emphasis added). And “necessary,” like

essential, means “indispensable.” See, e.g., Black’s Law Dictionary (10th ed. 2014)

(“Absolutely required: Indispensable; Needed to bring about a certain effect or

result”); Oxford English Dictionary (online) (Sept. 2021) (“Indispensable, vital,

essential; requisite”); Webster’s New Universal Unabridged Dictionary (2d ed.

1983) (“That cannot be dispensed with; essential; indispensable”). In requiring that

critical habitat be necessary to the recovery of the species, the ESA makes plain that

“essential” means indispensable, or something much more than just helpful.

      Judicial Interpretations.      Courts have likewise interpreted the ESA’s

reference to “critical habitat” that is “essential” as meaning habitat that is

“indispensable.” In Weyerhaeuser Co. v. U.S. Fish & Wildlife Service, 139 S. Ct.

361 (2018), for example, the Supreme Court considered the meaning of “critical

habitat” (as used in the ESA) in holding that an area must be habitable by the species

in order to constitute “critical habitat.” In reaching its holding, the Court noted that

the definition of “critical habitat” does not speak to the meaning of “habitat” but


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instead “identifies only certain areas that are indispensable to the conservation of the

endangered species.” Id. at 369 (emphasis added).

        Similarly, the Central District of California, in a decision affirmed by this

Court, read “essential” as “indispensable”—a construction advanced by the Service

in that case. Bear Valley Mut. Water Co. v. Salazar, 2012 WL 5353353, at *22 (C.D.

Cal. Oct. 17, 2012) (“Federal Defendants argue that if something is essential, not

having it is necessarily inadequate. Otherwise, it would not be essential. The Court

agrees.”), aff’d Bear Valley Mut. Water Co. v. Jewell, 790 F.3d 977, 994 (9th Cir.

2015). The court—citing dictionary definitions of “essential”—held that “[t]o be

essential is to be absolutely necessary, extremely important, or indispensable.” 2012

WL 5353353, at *22. And on appeal, this Court affirmed, explaining that, “[a]s the

district court properly found, ‘[i]f certain habitat is essential, it stands to reason that

if the [Service] did not designate this habitat, whatever the [Service] otherwise

designated would be inadequate.’” 790 F.3d at 994 (quoting 2012 WL 5353353, at

*22).

        Last year, the Tenth Circuit considered the same designation of critical habitat

at issue in this case (albeit for those areas designated just across the state line in New

Mexico), and held that the Service acted arbitrarily and capriciously.               In a

concurrence, Judge Hartz noted that “[t]he administrative record raises concerns

about whether the Service defined essential to mean merely convenient or helpful,”


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and advised the Service to “be more careful after remand.” N.M. Farm & Livestock,

952 F.3d at 1233 (Hartz, J., concurring) (emphasis in original).

      Judge Owen of the Fifth Circuit reached a similar conclusion regarding the

meaning of “essential” under the ESA. In Markle Interests, L.L.C. v. U.S. Fish &

Wildlife Serv., 827 F.3d 452 (5th Cir. 2016), vacated sub nom. by Weyerhaeuser Co.

v. U.S. Fish & Wildlife Serv., 139 S. Ct. 361 (2018), a divided panel issued an

opinion that erroneously held that “critical habitat” need not be habitable; that

opinion was later vacated by the Supreme Court. In her dissent, Judge Owen

correctly explained that “[t]he word ‘essential’ means more than desirable” and

noted that “Black’s Law Dictionary defines ‘essential’ as ‘2. Of the utmost

importance; basic and necessary. 3. Having real existence, actual.’” 827 F.3d at 483

(Owen, J., dissenting).

      Legislative History. Finally, the ESA’s legislative history leaves no doubt

that Congress intended “essential” to mean “indispensable” or “necessary.” When

Congress originally enacted the ESA in 1973, the term “critical habitat” was left

undefined. Based on concerns that the Service was designating far too much land,

not all of which was truly “critical” to species conservation, Congress amended the

ESA in 1978 to narrow the Service’s overbroad reading of “critical habitat.” The

Senate report for the 1978 amending legislation criticized the Service’s past practice

as failing to distinguish between areas that are “truly critical to the continued


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existence of a[n endangered] species” and areas that would merely “extend the range

of [the] species.” S. Rep. No. 95-874, at 9-10, 95th Cong. 2d Sess. 10 (emphasis

added). Citing the critical habitat then proposed for the grizzly bear as an example

of this overreach, the Senate report explained: “Much of the land involved in this

proposed designation is not habitat that is necessary for the continued survival of the

bear. It instead is being designated so that the present population within the true

critical habitat can expand.” Id. (emphasis added).

      The House report similarly criticized the Service’s interpretation and

application of “critical habitat” because it “could conceivably lead to the designation

of virtually all of the habitat of a listed species as its critical habitat.” H.R. Rep.

No. 95-1625, 95th Cong., 2d Sess. 16, at 25, reprinted in 1978 U.S. Code Cong. &

Admin. News 9453, 9468. The House report further cautioned that the Service

“should be exceedingly circumspect in the designation of critical habitat outside of

the presently occupied area of the species.” Id. at 18. Congress then enacted a new

definition of “critical habitat”—the one currently in force—to “narrow[] the scope

of the term as it is defined in the existing regulations.” Id. at 25; 16 U.S.C.

§ 1532(5)(A).




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             2. Even If “Essential” Were Ambiguous, the District Court Should
                Not Have Deferred to the Service’s Unstated, Shifting, and
                Unreasonable Interpretation.
      Under the second step of Chevron, “if the statute is silent or ambiguous with

respect to the specific issue, the question for the court is whether the agency’s answer

is based on a permissible construction of the statute.” 467 U.S. at 843. When a

statute is ambiguous, a court will defer to the agency’s interpretation only if that

interpretation is a “reasonable” one. Nat’l Cable & Telecomms. Ass’n. v. Brand X

Internet Servs., 545 U.S. 967, 980 (2005). Even if the meaning of “essential” were

ambiguous (it is not), the Service has failed to provide any construction of

“essential” to which this Court—or the District Court—could reasonably defer. And

the Service’s implicit understanding of “essential” undergirding its Final Rule is

patently unreasonable.

      In both its Final Rule and the proceedings below, the Service was

conspicuously silent as to how it defined “essential.” Instead, the Service claimed,

remarkably, that it could continually shift its understanding of “essential” on a “case-

by-case” basis, and that courts would then have to defer to the Service’s unstated

interpretations, wherever they may land and whatever result they may lead to in any

given case. Dkt. 116 at 11–12, Ctr. for Biological Diversity v. U.S. Fish & Wildlife

Serv., No. 4:17-cv-00475 (D. Ariz.); see also id. at 12 (“It is of no import that FWS

did not define [essential] . . . .”). But such an ad hoc, results-driven approach is not



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entitled to Chevron deference, and would substitute bureaucratic fiat for law.

Chevron does not require deference when an agency has failed to actually define a

purportedly ambiguous statutory term. If the law were otherwise, agencies would

be free to reach whatever result they wanted in any given matter and then reverse-

engineer new definitions of statutory terms to rationalize that result. While Chevron

calls for deference to agencies in appropriate circumstances, “deference is not

abdication.” Otay Mesa Prop., L.P. v. U.S. Dep’t of Interior, 646 F.3d 914, 916

(D.C. Cir. 2011) (Kavanaugh, J.). Yet that is exactly what would ensue if Chevron

deference were given to the Service’s continuously shifting definition of “essential.”

      The District Court nonetheless deferred to the Service’s unspecified

understanding of “essential” in upholding its challenged critical-habitat

designations. Without ever defining what “essential” means, the District Court ruled

in conclusory fashion that “[t]he record shows that the [Service] applied the

appropriate ‘essential’ standard to the jaguar,” and that Rosemont’s “higher standard

would not be in accordance with the intent of the ESA.” 1-ER-41. The court relied

on language from Home Builders Association of Northern California v. U.S. Fish &

Wildlife Service, 616 F.3d 983, 989 (9th Cir. 2010), stating that the Service must

“‘be more generous in defining area[s] as part of the critical habitat designation.’”

1-ER-41 (quoting Home Builders, 616 F.3d at 989) (emphasis in original). But

Home Builders never considered the meaning of “essential” as used in the ESA, but


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instead concerned only the number of physical or biological features that must be

included in a critical-habitat designation. 616 F.3d at 988. And the “more generous”

language was a reference to this Court’s decision in Gifford Pinchot Task Force v.

U.S. Fish & Wildlife Service, 378 F.3d 1059, 1070 (9th Cir. 2004), which held that

critical habitat is that which is necessary for both a species’ survival and its recovery.

616 F.3d at 983. Gifford Pinchot, like Home Builders, sheds no light on the meaning

of “essential.”

      Although it never defined what “essential” means, the Service’s implicit

understanding of the term—as reflected in its Final Rule and its critical-habitat

designations—was that it covered not only habitat that was indispensable or

necessary to the conservation of the jaguar, but also areas that could be merely

convenient or helpful to the jaguar. See, e.g., 2-ER-248 (“[W]e determined that the

designation of critical habitat for the jaguar would be beneficial to the species.”

(emphasis added)); see also 2-ER-282 (“Critical habitat designation would have

long-term, beneficial conservation-related impacts on jaguar survival and

recovery . . . .”); 2-ER-217 (“[T]he portion of the United States [designated as

critical habitat] is located within a secondary area that provides a recovery function

benefitting the overall [NRU].”). But that understanding of “essential” is contrary




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to its plain meaning and “goes beyond the meaning that the statute can bear.”

MCI Telecomms. Corp., 512 U.S. at 225.

      Neither the northern Santa Rita Mountains within Unit 3 nor the Subunit 4b

travel corridor is “essential” to the jaguar’s conservation, as that statutory term is

properly understood.      The overwhelming majority of jaguars are located in

South America, Central America, and Mexico—not the United States. There are

more than 30,000 jaguars in the wild, occupying between 2.17 billion and

2.88 billion acres of habitat in some 17 different nations. 4-ER-724; see also

4-ER-767; supra at 7–9. In contrast, from 1996 through 2011, “five, possibly six

individual jaguars have been documented in the U.S.” 4-ER-726. Given the jaguar’s

ten-year life span, 2-ER-224, most of these jaguars are likely no longer alive. But

even assuming the presence of six jaguars in the United States, that constitutes just

0.02% of the total worldwide population of jaguars.             4-ER-724; 4-ER-726.

Moreover, in designating the “critical habitat” at issue, the Service relied on just two

jaguar sightings in Unit 3: the presence of one male jaguar in 1965 (in the Patagonia

Mountains) and another in 2012—47 years later. 2-ER-236. Protecting land that

might benefit a miniscule fraction of the species cannot possibly be regarded as

“essential” to the conservation of the species.

      Furthermore, there is no evidence that Subunit 4b has ever been used by

jaguars. 3-ER-462 (Subunit 4b “is not known to have ever been used by jaguars”);


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3-ER-475 (“no jaguar has ever been documented using Subunit 4b”). Instead,

Subunit 4b is “essential” to conserving the species, in the Service’s view, because it

allegedly provides “connectivity from the Whetstone Mountains [in Arizona] to

Mexico.” 2-ER-237. But such “linkages to [other] populations [of the species] are

not essential to the conservation of the species.” All. for the Wild Rockies v. Lyder,

728 F. Supp. 2d 1126, 1140 (D. Mont. 2010) (agreeing with the Service that it need

not designate certain connectivity corridors for the Canada lynx because

“connectivity to marginal or sink populations is unnecessary to conserve the

species”).6

        In fact, the Service previously relied on the scarcity of jaguars in the

United States in declining to designate critical habitat, and conceded, in a

2006 finding, that jaguar habitat in the United States is not essential to the

conservation of the species. In the Service’s own words:

        Because the area used by jaguars in the United States is such a small
        part of the overall range of the species and because of nomadic use by
        jaguars, the range of the jaguar in the United States is not enough area
        to provide for the conservation (i.e., recovery) of the jaguar or even
        make a significant contribution to the conservation of the jaguar, and


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     Moreover, the Service failed to explain why designating Subunit 4b is necessary
     given the alternate travel corridor provided by Subunit 4c (the more direct route
     to Mexico). See 2-ER-237. The Service acknowledged that “[e]ither Subunit 4b
     or 4c may be used by the jaguar” to travel between Subunit 4a and Mexico, but
     concluded, in another leap of logic, that “we have no reason not to include [both
     of] these areas as critical habitat, regardless of which one provides a more direct
     connection.” 2-ER-254 (emphasis added).

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       cannot be defined as essential to the conservation of the species. Any
       conservation actions for the jaguar that may bring the species to the
       point that the measures of the Act are no longer necessary will need to
       be implemented in Mexico and Central and South America. Thus,
       recovery of the species as a whole depends on conservation efforts in
       Mexico and Central and South America.

4-ER-783 (emphases added). Although the Service reversed this finding after it was

vacated and remanded for further explanation by another district judge, Ctr. for

Biological Diversity v. Kempthorne, 607 F. Supp. 2d 1078, 1091 (D. Ariz. 2009),

the Service has never explained how its earlier finding that areas in the United States

“cannot be defined as essential to the conservation of the species,” 4-ER-783, can

be squared with its later reversal of course. See F.C.C. v. Fox Television Stations,

Inc., 556 U.S. 502, 515–16 (2009) (an agency must provide “a reasoned explanation

. . . for disregarding facts and circumstances that underlay or were engendered by

[its] prior policy”).

       Instead, in reversing its finding in 2010, the Service simply stated that because

jaguars have been found in the United States in the past and may occur . . . in the

future,” and “there are physical and biological features that can be used by jaguars

in the United States,” “the designation of critical habitat for the jaguar would be

beneficial.” 4-ER-770. That jaguars may occasionally wander into the United States

from Mexico and may “benefit” from the designation of critical habitat does not alter

the agency’s 2006 finding that “the range of the jaguar in the United States . . . cannot




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be defined as essential to the conservation of the species,” and the Service has never

explained how it could. 4-ER-783.

      The Service’s 2012 proposed rule similarly concedes that the challenged

“critical habitat” is far from essential. The Service acknowledged in its proposed

rule that the “more open, dry habitat of the southwestern United States has been

characterized as marginal habitat for jaguars in terms of water, cover, and prey

densities” and that only “a few, possibly resident jaguars are able to use the more

open, arid habitat found in the southwestern United States.”               4-ER-684

(emphases added). Habitat that is “marginal” and, at best, capable of supporting a

“few possibly resident jaguars” cannot be essential—i.e., indispensable or

necessary—to the conservation of the species.

      The Recovery Outline the Service repeatedly relies on to support its

Final Rule similarly underscores the minimal value of designating jaguar “critical

habitat” in the United States. In the Recovery Outline, the Service designated certain

“core” and “secondary” areas of jaguar habitat. But there are indisputably no core

areas in the United States. 4-ER-730. “South-central and southeastern Arizona” is

instead designated as a “secondary area”:         one in which, according to the

Recovery Outline, the “[q]uality and quantity of jaguar habitat is lower compared to

core areas” and where “[j]aguar habitat is likely less optimal.” 4-ER-730.




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      Importantly, secondary areas “are of particular interest” only when “they

occur between core areas.” 4-ER-729 (emphasis added); see also 4-ER-746. But

that cannot be the case as to the “secondary” habitat designated here, as the following

map included in the Recovery Outline shows:




4-ER-766.

      The Recovery Outline also discusses a 2007 study dividing the “currently

occupied range” of the jaguar into 90 different “Jaguar Conservation Units”

(“JCUs”), which encompassed all areas “known or believed to contain a population

of resident jaguars large enough . . . to be potentially self-sustaining” and all “areas

containing fewer jaguars but with adequate habitat and stable, diverse prey base,

such that jaguar populations in the area could increase if threats were alleviated.”

4-ER-724. The two most northwestern JCUs were both in Mexico—none of the 90



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units fell within the United States. Id. As the Recovery Outline concludes—in a

statement reminiscent of the Service’s 2006 finding that designating jaguar habitat

in the United States is not essential—“[b]ecause such a small portion of the jaguar’s

range occurs in the U.S., it is anticipated that recovery of the species will rely

primarily on actions that occur outside the U.S. Activities that may adversely or

beneficially affect jaguars in the U.S. are far less likely to affect recovery than

activities in the core areas of their range.” 4-ER-746 (emphasis added).

      Moreover, with respect to the northern Santa Rita Mountains, the Service

incorrectly assumed, when it issued its Final Rule, that Unit 3—which contains the

northern Santa Rita Mountains—was occupied, an assumption the District Court

correctly rejected. 1-ER-40. And while the Service purported to analyze, in the

alternative, whether Unit 3 was “essential to the conservation of the species” even if

unoccupied, that perfunctory analysis cannot carry the day. See, e.g., 2-ER-225,

250–51.

      On this last point, Otay Mesa Property, L.P. v. U.S. Department of the

Interior, 344 F. Supp. 3d 355 (D.D.C. 2018), is instructive. There, in designating

unoccupied critical habitat for the Riverside fairy shrimp, the Service “gestured to

the required, ‘essential for the conservation of the species’ finding, . . . but did

nothing more to substantiate this conclusory finding.” Id. at 375. The court granted

summary judgment for Otay Mesa, holding that the Service’s “designation of


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Otay Mesa’s property as either occupied or unoccupied critical habitat for the

Riverside fairy shrimp was arbitrary and capricious.” Id. at 379. The court explained

that although Congress did not define “essential,” “that alone does not mean that the

[Service’s] bald statement that these are areas essential for the conservation of the

species in the 2012 Rule has to be accepted.” Id. at 375.

      So too here. In designating Unit 3 as “critical habitat” even if unoccupied, the

Service merely “gestured” to the required finding for unoccupied habitat but did

nothing to substantiate its conclusory assertions. 344 F. Supp. 3d at 375; see also

McDonnell Douglas Corp. v. U.S. Dep’t of the Air Force, 375 F.3d 1182, 1187 (D.C.

Cir. 2004) (courts “do not defer to the agency’s conclusory or unsupported

suppositions”); Garcia v. Holder, 659 F.3d 1261, 1267 (9th Cir. 2011) (giving “only

limited deference” to agency decision that is “conclusory or lacks meaningful

analysis”). And it is now, of course, far too late in the day for the Service to provide

the requisite explanation. See Otay Mesa Prop., 646 F.3d at 917 (“This Court of

course may not supply a reasoned basis for the agency’s action that the agency itself

has not given.”). Nor may the Service now attempt to effectively rewrite its

Final Rule on appeal and rationalize how the challenged designations are

“indispensable” and “necessary”—i.e., actually essential—to the conservation of the

jaguar species. See, e.g., Motor Vehicle Manufacturers Ass’n v. State Farm Mutual




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Automobile Ins. Co., 463 U.S. 29, 50 (1983) (“[C]ourts may not accept appellate

counsel’s post hoc rationalizations for agency action”).

      The Service’s Final Rule, which designates land that is merely helpful or “nice

to have” as “critical habitat” for the jaguar, contravenes the plain meaning of

“essential” and cannot be regarded as a reasonable construction or understanding of

that statutory term. Under either step of Chevron, the Service acted arbitrarily and

capriciously in designating the challenged “critical habitat,” and the District Court

reversibly erred in upholding those designations.

      B.     The Service Improperly Designated “Critical Habitat” Beneficial,
             at Most, to Conserving a Small Group of Jaguars in the NRU.

      In addition to contravening the plain meaning of the statutory term “essential,”

the Service also violated the ESA by treating the small group of jaguars in the

Northwestern Recovery Unit—an area almost entirely in Mexico—as tantamount to

the jaguar species as a whole. In other words, the Service designated “critical

habitat” helpful to those NRU jaguars, rather than “critical habitat” “essential to” or

“essential for” the “conservation of the species.” 16 U.S.C. § 1532(5)(A) (emphasis

added). The District Court carried forward this error in a conclusory footnote stating

that “the NRU is for the benefit of the entire species, not just the jaguars within it,

and supporting [the NRU] is essential to the recovery of the entire species.”

1-ER-41–42 (citing 4-ER-748). That, too, conflates a benefit to the NRU with a

benefit to the species as a whole and independently warrants reversal.


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      The ESA defines “species” as “includ[ing] any subspecies of fish or wildlife

or plants, and any distinct population segment of any species of vertebrate fish or

wildlife which interbreeds when mature.” 16 U.S.C. § 1532(16). But the jaguars

within the NRU are neither a subspecies nor a distinct population segment, and the

Service has never found that they qualify as either. A “subspecies” is a biological

classification applied to a genetically distinct, named subgroup of a species. See

Webster’s Third New International Dictionary (1968) (defining subspecies as “a

morphologically distinguishable group” within a species). The Service has not listed

any jaguar subspecies, undoubtedly because “molecular genetic analyses have

revealed that subspecies recognition may not be warranted in jaguars.” 4-ER-712.

The Service has also not listed any “distinct population segment” of jaguars. See

Policy Regarding the Recognition of Distinct Vertebrate Population Segments

Under the Endangered Species Act, 61 Fed. Reg. 4,722, 4,725 (Feb. 7, 1996).

      Nevertheless, the Service effectively treated the NRU and its small group of

jaguars as equivalent to the entire jaguar species, in designating habitat beneficial to

the small group of jaguars in the NRU, rather than habitat essential to the

conservation of the jaguar species as a whole. That is both contrary to the plain

meaning of “species” and an unreasonable interpretation or application of that

statutory term.




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      The NRU contains just 86,000 square miles, or less than 3% of the jaguar’s

total range. 4-ER-724–25, 731. It contains just two “core” jaguar areas, 4-ER-766,

both of which are in Mexico, and those core areas contain about 600 jaguars, or

merely 2% of the total worldwide jaguar population. 4-ER-724–25. The areas

designated as critical habitat in the United States make up only 1.4% of the NRU

and a miniscule fraction of the jaguar’s total habitat (0.04%), and contain at most a

handful of jaguars (and no breeding population). 2-ER-215.

      Despite the small size of the NRU and its limited group of jaguars, the Service

relied on it to justify designating “critical habitat” over the Rosemont Project site.

The Service found, for example, that the “critical habitat” it designated was “not

being designated to create a self-sustaining, breeding population north of the U.S.-

Mexico border,” 2-ER-267, but rather to “provide areas to support some individuals

during dispersal movements, by providing small patches of habitat (perhaps in some

cases with a few resident jaguars), and as areas for cyclic expansion and contraction

of the nearest core area and breeding population in Mexico [i.e., the core areas within

the NRU].” 2-ER-254.

      The Service also stated that the “specific areas within [the] secondary area”

of habitat in the United States could “contribute to the species’ persistence . . . by

providing . . . areas for cyclic[al] expansion and contraction of the nearest core area

and breeding population in the Northwestern Recovery Unit (about 210 km (130 mi)


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south of the U.S.-Mexico border).” 2-ER-267 (emphasis added); see also 2-ER-225

(critical habitat “contribute[s] to the species’ persistence in the United States by

allowing the normal demographic function and possible range expansion of the

Northwestern Recovery Unit, which is essential to the conservation of the species”

(emphasis added)). In other words, the Service designated the “critical habitat” at

issue not to support the jaguar species as a whole, but rather to benefit a small

number of individual jaguars dispersing from the NRU. As to Subunit 4b, the

Service similarly provided that “maintaining travel corridors to Mexico is essential

for the conservation of jaguars in the Northwestern Recovery Unit.” 2-ER-232

(emphasis added).

      In making the challenged designations, the Service thus treated the small

group of jaguars in the NRU as a “species” unto itself, contrary to the plain meaning

(or any reasonable interpretation) of that statutory term, and contrary to the Service’s

implicit recognition elsewhere in its Final Rule that the jaguar “species” is distinct

from the small group of jaguars in the NRU. See, e.g., 2-ER-217 (“The Recovery

Outline delineates two recovery units for the species, the Northwestern Recovery

Unit . . . and the Pan American Recovery Unit . . . .”); 2-ER-252 (describing the

NRU as “an area comprising jaguars in the northernmost portion of their range”).

      Finally, even if the statutory term “species” were ambiguous (it is not), the

Service’s de-facto treatment of the NRU jaguars as the jaguar “species” would still


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be arbitrary and capricious, and something the District Court should have vacated

and remanded to the Service for further consideration. See E. Bay Sanctuary

Covenant v. Garland, 994 F.3d 962, 987 (9th Cir. 2020) (“[A]s we have previously

observed in an APA case, § 706(2)(A) provides that a ‘reviewing court shall . . . hold

unlawful and set aside agency action . . . not in accordance with law.’”). Under

either step of Chevron, once again, the Service’s interpretation and application of

“species” cannot stand, nor can the District Court’s order upholding the Service’s

challenged critical-habitat designations.

II.   The District Court Erred in Failing to Vacate the Critical-Habitat
      Designations Despite the Service’s Arbitrary and Capricious Failure to
      Follow the Two-Step Analysis Mandated by Its Own Regulations.
      Although the Service’s designations should have been vacated for the reasons

explained above, reversal is independently warranted because the District Court

erred in failing to vacate the challenged designations even though the Service failed

to follow its own regulations. The regulation in effect when the Service made its

challenged designations (and the current version of that regulation) required the

Service to first consider whether designating areas occupied by the jaguar at the time

of its listing in 1972 would have been sufficient to conserve the species, before the

Service could then consider designating areas unoccupied by the jaguar. See 50

C.F.R. § 424.12(e) (2012); 50 C.F.R. § 424.12(b)(2) (2019). But the Service

indisputably failed to follow this step-wise process here.



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      A.     The Service’s Regulations Require a Step-Wise Approach.

      The Service’s rule specifying the procedures for designating critical habitat,

codified at 50 C.F.R. § 424.12, was first promulgated in 1980, and has been amended

through notice-and-comment rulemaking four times since, including in 2012, 2016,

and 2019. The 2012 version of the rule, which was in effect when the Service

published its Final Rule designating the “critical habitat” at issue, provided that

“[t]he Secretary shall designate as critical habitat areas outside the geographical area

presently occupied by a species only when a designation limited to its present range

would be inadequate to ensure the conservation of the species.”               4-ER-775

(emphases added).

      The most natural reading of the rule’s text is that it requires a two-step process.

By providing that unoccupied areas may be designated “only when a designation

limited to [the species’] present range would be inadequate to ensure” its

conservation, id. (emphasis added), the rule makes the inadequacy of habitat

occupied by the species a condition precedent for designating unoccupied

critical habitat. In other words, the regulation requires two sequential steps: First,

the Service must determine whether designating just occupied areas would be

insufficient to conserve the species. Only if that condition precedent is satisfied may

the Service then proceed to consider designating as critical habitat areas unoccupied

by the species.



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      The Service has clarified, through subsequent amendments to Section 424.12,

that the 2012 version of the rule required a step-wise approach. In its preamble to

the 2016 amendment, the Service explained that it was abandoning the

2012 version’s “rigid step-wise approach, i.e., first designating all occupied areas

that meet the definition of ‘critical habitat’ (assuming that no unoccupied habitat is

designated) and then, only if that is not enough, designating essential unoccupied

habitat.” 81 Fed. Reg. 7,414, 7,427 (Feb. 11, 2016). The Service amended the rule

again in 2019, and explained that it was “restoring the requirement that the Secretary

will first evaluate areas occupied by the species” before considering designating

unoccupied habitat. 84 Fed. Reg. 45,020, 45,043 (Aug. 27, 2019) (emphasis added).

It characterized the 2016 rule as “chang[ing] the step-wise approach we had been

using since 1984 to allow for simultaneous consideration of occupied and

unoccupied habitat.” Id.

      These statements leave no doubt that the 2012 version of Section 424.12

mandated a “rigid step-wise approach” that allowed the Service to designate

unoccupied habitat only after first determining that the habitat occupied at the time

of listing was inadequate to conserve the species. “[W]here an agency interprets its

own regulation, . . . its interpretation of an ambiguous regulation is controlling under

Auer [v. Robbins, 519 U.S. 452 (1997)] unless ‘plainly erroneous or inconsistent

with the regulation.’” Bassiri v. Xerox Corp., 463 F.3d 927, 930 (9th Cir. 2006)


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(quoting Auer, 519 U.S. at 461). The Service’s interpretation of the regulation as

requiring a step-wise process follows naturally from the text of the rule, and is

entitled to Auer deference. The Tenth Circuit, reviewing the same critical-habitat

designation (albeit in New Mexico), recognized as much in New Mexico Farm and

Livestock, in which it correctly held that “the 2016 and 2019 rulemakings . . . support

our conclusion that [the 2012 version of] § 424.12(e) required a sequential, ‘step-

wise’ approach, under which the Service must find designation of occupied areas

inadequate as a prerequisite to designating unoccupied areas.” 952 F.3d at 1229.

      While this Court, in Bear Valley Mutual Water Co. v. Jewell, 790 F.3d 977

(9th Cir. 2015), previously considered whether the ESA and the 2012 rule required

a step-wise analysis, it did so without the benefit of the 2016 and 2019 rulemakings.

As a result, the Court erroneously viewed the two steps as functionally identical. See

id. at 994 (“Although appellants consider these to be two separate requirements, they

are identical. The ESA requires the FWS to demonstrate that unoccupied area is

‘essential’ for conservation before designating it as critical habitat.           The

implementing regulation phrases the same requirement in a different way, and states

that the FWS must show that the occupied habitat is not adequate for conservation.”).

      Bear Valley thus concluded that where the Service “sufficiently explained

why the designation of unoccupied habitat . . . was essential,” it had necessarily

explained “why designation of solely occupied habitat was inadequate for the


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conservation of the species.” Id. That approach cannot be reconciled with the

Service’s subsequent interpretations of its own regulation; thus, Bear Valley no

longer remains good law on this issue under the principles established by the

Supreme Court in Brand X.        See 545 U.S. at 982 (“A court’s prior judicial

construction of a statute trumps an agency construction otherwise entitled to

Chevron deference only if the prior court decision holds that its construction follows

from the unambiguous terms of the statute and thus leaves no room for agency

discretion.” (emphases added)); see also Betansos v. Barr, 928 F.3d 1133, 1141–42

(9th Cir. 2019) (applying Brand X and deferring to agency interpretation of an

ambiguous statute, even though the agency’s interpretation conflicted with the

Ninth Circuit’s in a prior decision); Ctr. for Biological Diversity v. Zinke, 900 F.3d

1053, 1063–64, 1067 (9th Cir. 2018) (same).

      While Brand X concerned judicial deference to agencies’ interpretations of

statutes, courts applying Brand X have uniformly confirmed that it applies with

equal (if not greater) force to an agency’s interpretation of its own regulations. In

Levy v. Sterling Holding Co., LLC, 544 F.3d 493 (3d Cir. 2008), the Third Circuit

deferred to the Securities and Exchange Commission’s interpretation of its own

rules, even though a prior Third Circuit decision in the same case had interpreted

those rules differently. Id. at 502–04. Citing Brand X, the Third Circuit concluded

that there was “no reason why [its] principles should not apply equally to the


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interpretation of a regulation. After all, ‘[w]hen the construction of an administrative

regulation rather than a statute is in issue, deference is even more clearly in order.’”

Id. at 502 (quoting Udall v. Tallman, 380 U.S. 1, 16–17 (1965)). Because its prior

decision had not held that the relevant regulation unambiguously precluded the

SEC’s subsequent interpretation, that decision “d[id] not control the result . . . simply

by virtue of the fact that it came first and ha[d] not been overturned.” Id. at 503.

      The Federal Circuit, relying on Levy, likewise held that “[t]he principles in

[Brand X] apply equally to an agency’s interpretation of its own regulations.” In re

Lovin, 652 F.3d 1349, 1354 (Fed. Cir. 2011). And at least two judges of this Court

have stated that they agree with Levy and Lovin. See Shahinyan v. Holder, 518

F. App’x 545, 547–48 (9th Cir. 2013) (Ikuta, J., concurring, joined by

O’Scannlain, J.) (citing Levy and Lovin and explaining that the Board of Immigration

Appeals was “free to provide an authoritative construction” of its regulation, and

that “[i]f it does so, we will have to reassess the continued validity of our contrary

precedent as required by Brand X”).

      Here, faced with rulemakings from the agency that expressly interpret the

ESA and Section 424.12 (2012) as requiring a step-wise process for the designation

of unoccupied areas as critical habitat, the Court should “reassess the continued

validity of [its] contrary precedent” in Bear Valley, “as required by Brand X.”

Shahinyan, 518 F. App’x at 547–48 (Ikuta, J., concurring).


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      B.     The Service Failed to Follow the Required Step-Wise Process in
             Designating the Challenged “Critical Habitat.”

      Although the Service acknowledged in its Final Rule that it was required to

use a sequential, step-wise process, it failed to do so. The Service stated in its Final

Rule that “[i]f, after identifying occupied areas, a determination is made that those

areas are inadequate to ensure conservation of the species . . .[,] we then consider”

whether to designate unoccupied areas as essential to conserving the species.

2-ER-233 (emphases added). But as the Tenth Circuit concluded as to the same

designation of “critical habitat” at issue here (albeit for other portions across the state

line—namely, Units 5 and 6 in New Mexico), the Service failed to follow the step-

wise process mandated by the regulation. See N.M. Farm & Livestock, 952 F.3d at

1231. Specifically, the Service “did not find that the designation of areas occupied

by jaguars in 1972 would be inadequate to ensure the conservation of the species,”

and did not “make findings about whether any individual unit designated as

unoccupied was essential for the conservation of the species.” Id. The same holds

true for the challenged designations here (the northern Santa Rita Mountains and

Subunit 4b), which both consist of unoccupied habitat.

      The District Court correctly held that the northern Santa Rita Mountains were

not occupied by the jaguar at the time of its listing in 1972. 1-ER-39–40. It reasoned

that “[s]ightings or evidence outside the reasonable timeframe” of 1962 to 1982

(based on the jaguar’s average ten-year lifespan) “should not have been considered”


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in determining whether an area was occupied in 1972. Id. And there is no record of

jaguar presence in the northern Santa Rita Mountains during the two decades from

1962 to 1982. Id. But the Service failed to make any finding that other areas it

considered to be “occupied” were inadequate to conserve the jaguar species before

it designated Unit 3 (which covers the northern Santa Rita Mountains) as unoccupied

“critical habitat.” The Service similarly designated Subunit 4b as unoccupied

“critical habitat” without separately and expressly examining the sufficiency of any

areas it considered “occupied.”

      In fact, as the Tenth Circuit correctly noted, nowhere in the Final Rule did the

Service evaluate the adequacy of areas it considered occupied, prior to and separate

from its analysis of whether unoccupied areas are “essential” to conserve the jaguar

species. Instead, it “addressed all the units together, finding that to the extent they

were not occupied, they were essential for the conservation of the species.”

N.M. Farm & Livestock, 952 F.3d at 1231. The Service’s failure to follow its own

regulations and apply a step-wise approach to the designation of unoccupied areas

was arbitrary and capricious. See id. (“Because it did not follow its own regulations

or provide a rational explanation for failing to do so, its designation of Units 5 and

6 as critical habitat was arbitrary and capricious.”). Any conclusion to the contrary

would unnecessarily conflict with the Tenth Circuit’s recent, sound decision in

New Mexico Farm and Livestock.          See Kelton Arms Condo. Owners Ass’n v.


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Homestead Ins. Co., 346 F.3d 1190, 1192 (9th Cir. 2003) (“[W]e decline to create a

circuit split unless there is a compelling reason to do so.”). This Court could avoid

this issue entirely by holding that the District Court erred in upholding the Service’s

critical-habitat designations (see Section I, supra), but if it opts not to, then it should

follow the Tenth Circuit’s lead.

       Significantly, on remand from the Tenth Circuit’s decision in New Mexico

Farm and Livestock, the District of New Mexico found that the Service’s failure to

follow the step-wise approach was a “fundamental flaw,” “[t]he magnitude of

[which] . . . is significant.” N.M. Farm & Livestock Bureau v. U.S. Dep’t of Interior,

2021 WL 275535, at *8 (D.N.M. Jan. 27, 2021). The court concluded that it was

“unlikely . . . that upon remand the Service would re-designate Unit 5 and Unit 6 as

unoccupied critical habitat” if it used the two-step process mandated by its

regulations. Id. The court therefore vacated the critical-habitat designations for the

portions of Units 5 and 6 in New Mexico. The Service, conceding that vacatur was

warranted, then removed approximately 110,438 acres in New Mexico from its

designation of “critical habitat” for the jaguar. See id., at *4, 8; Revision of the

Critical Habitat Designation for the Jaguar in Compliance With a Court Order, 86

Fed. Reg. 38,570 (July 22, 2021).

      The same should happen here with respect to the challenged designations of

the northern Santa Rita Mountains and Subunit 4b.


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III.   The District Court Erred By Failing to Remand to the Service to
       Reconsider Its Economic-Impact Analysis.

       Under Section 4(b)(2) of the ESA, “[t]he Secretary shall designate critical

habitat, and make revisions thereto, . . . on the basis of the best scientific data

available and after taking into consideration the economic impact, the impact on

national security, and any other relevant impact, of specifying any particular area as

critical habitat.” 16 U.S.C. § 1533(b)(2). “The Secretary may exclude any area from

critical habitat if he determines that the benefits of such exclusion outweigh the

benefits of specifying such area as part of the critical habitat, unless he determines

. . . that the failure to designate such area as critical habitat will result in the

extinction of the species concerned.” Id. The District Court gutted the foundation

for the Service’s assessment of economic impacts by eliminating a crucial predicate

of that analysis—one that, in the Service’s own words, was a “major determining

factor” for its conclusion. 2-ER-269. Yet the District Court failed to take the logical

next step: vacating the Service’s challenged designations and remanding for the

Service to redo its economic-impact analysis.

       The Service did “not f[i]nd any disproportionate impacts, economic or other,

on the Rosemont Mine due to the critical habitat designation” and “[t]herefore, [it]

did not find it to be reasonable or appropriate . . . to enter into the discretionary

exclusion analysis about whether to exclude the mine from the final designation.”

2-ER-263. In other words, the Service did not actually consider whether to exclude


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the northern Santa Rita Mountains (including the Rosemont Project site) and Subunit

4b from its designation of “critical habitat” for the jaguar; it merely made a threshold

determination that it did not need to engage in an exclusion analysis given its

assessment that the economic impact would be minimal.

      That conclusion, in turn, rested on a predicate assumption that did not survive

the District Court’s decision. The Service assumed that “the construction and

operation of the Rosemont Mine would not . . . adversely modify designated critical

habitat.”   2-ER-269.     In making this assumption, the Service relied on its

2013 Biological Opinion, which had concluded as much.            See 2-ER-243, 269;

1-ER-13–14.

      The economic report that the Service commissioned and relied on in

conducting its economic-impact analysis illustrates the significance of this

assumption. It explained that, “[a]t the high end,” the economic costs of designating

critical habitat could include “the expected loss in employment, revenue, and

potential market impacts” if the Rosemont Mine does not “open for operation due to

the designation of critical habitat and the costs of conservation measures to avoid

adverse modification.” 3-ER-353. But while the report categorized those costs as

“[p]ossibly major,” it also dismissed them as “unlikely” because “the recently issued

biological opinion did not find that the operation was likely to result in adverse

modification of jaguar critical habitat.” 3-ER-356, 359.


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      The Service’s own economic-impact analysis similarly assumed that the

2013 Biological Opinion foreclosed any likelihood that these major costs would be

imposed on the Rosemont Project. Relying on the premise that “the proposed mining

operation would not destroy or adversely modify critical habitat,” the Service

assumed that the critical-habitat designations would not require costly modifications

to, or otherwise interfere with, the Project. 2-ER-269. Therefore, it found “no

. . . probable economic impact due solely to the designation of critical habitat.” Id.

The Service expressly stated that this premise was “a major determining factor in

whether the Secretary would consider the exclusion of the mine area from critical

habitat.” Id. (emphasis added).

      The District Court eliminated that “major determining factor” by holding that

the Service had erroneously “applied a heightened standard of review” in

determining that the Rosemont Mine was unlikely to adversely modify critical

habitat and vacating the 2013 Biological Opinion. 1-ER-15–16. As a matter of law

and logic, that ruling left the District Court with only one option: to vacate the

designations and remand for the Service to conduct a new economic-impact analysis.

Yet the court inexplicably failed to follow through on the corollary of its ruling.

Instead, it left the conclusion of the Service’s economic-impact analysis intact even

after kicking the legs out from under it. This Court should correct that error by




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ordering the District Court to vacate the challenged designations and remand to the

agency for further consideration.

      That follows from this Court’s precedents, under which an agency’s decision

is arbitrary and capricious when it rests on a “flawed premise [that] is fundamental

to [the agency’s] determination.” Safe Air for Everyone v. EPA, 488 F.3d 1088,

1101 (9th Cir. 2007). “[W]e must ‘remand to the agency for additional investigation

or explanation’ when the agency’s analysis is incomplete after its flawed basis is

removed,” or when its conclusion no longer follows once its flawed premise is

rejected. Id. (quoting Fla. Power & Light Co. v. Lorion, 470 U.S. 729, 744 (1985)).

In such circumstances, vacatur and remand is necessary to give the agency “the first

opportunity” to conduct an analysis based on the correct premise. Id. at 1101.

      Here, because the District Court rejected the key predicate for the Service’s

conclusion that the economic impacts of the challenged designations were too

minimal to warrant engaging in an exclusion analysis, the court rendered the

agency’s analysis “incomplete” and illogical, just as this Court’s removal of the

“flawed premise” in Safe Air did. The District Court therefore should have vacated

and remanded to the Service to redo the analysis mandated by Section 4(b)(2),

including analyzing whether to exclude the northern Santa Rita Mountains and

Subunit 4b from its critical-habitat designations. 16 U.S.C. § 1533(b)(2).




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                                 CONCLUSION

      The Service’s designations of “critical habitat” for the jaguar in the

northern Santa Rita Mountains and Subunit 4b were arbitrary and capricious, and

the District Court erred in upholding them. This Court should therefore reverse the

District Court’s grant of summary judgment to CBD and the Government and

remand with instructions to:    (i) grant Rosemont’s cross-motion for summary

judgment, (ii) vacate the Service’s critical-habitat designations for the northern

Santa Rita Mountains and Subunit 4b, and (iii) remand to the Service for further

consideration consistent with such rulings.



Dated: December 23, 2021                  Respectfully submitted,

                                                   s/ Julian W. Poon
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                     STATEMENT OF RELATED CASES

      Pursuant to Ninth Circuit Rule 28-2.6, Intervenor-Defendant-Appellant

Rosemont Copper Company states that there is one related case of which it is

aware currently pending before this Court: Center for Biological Diversity v.

United States Fish and Wildlife Service v. Rosemont, Nos. 19-17585, 19-17586.


Dated: December 23, 2021                               s/ Julian W. Poon
                                                         Julian W. Poon




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